Case 8:23-cv-02310-CJC-ADS Document 16 Filed 01/26/24 Page 1 of 1 Page ID #:64




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  7
  8                       UNITED STATES DISTRICT COURT

  9                       CENTRAL DISTRICT OF CALIFORNIA

 10
 11 SAM BENFORD,                                   Case No.: 8:23-cv-02310 CJC (ADSx)

 12                                                NOTICE OF SETTLEMENT OF
                   Plaintiff,                      ENTIRE CASE
 13
            vs.
 14
 15 BAYSIDE ADVISORS LLC; MATRIX
    ENTERPRISES, L.P., A CALIFORNIA
 16 LIMITED PARTNERSHIP; and DOES
 17 1 to 10,
 18                Defendants.
 19
 20         Notice is hereby given that Plaintiff SAM BENFORD ("Plaintiff") and
 21 Defendants have settled the above-captioned matter as to the entire case. Parties
 22 request that the Court grant thirty (30) days from the date of this filing for Plaintiff
 23 to file dispositional documents in order to afford Parties time to complete settlement.
 24
      DATED: January 26, 2024                      SO. CAL EQUAL ACCESS GROUP
 25
 26
                                                         /s/ Jason J. Kim
 27                                                JASON J. KIM
                                                   Attorney for Plaintiff
 28

                                                          NOTICE OF SETTLEMENT OF ENTIRE CASE
